         Case 2:25-mj-00136-CBB         Document 19        Filed 02/12/25     Page 1 of 8




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                              :

 v.                                                   :       2:25-mj-136 (CBB)

Aidan Harding,                                        :

                 Defendant.                           :

      DEFENDANT’S OPPOSITION TO THE GOVERNMENT’S REQUEST FOR DETENTION

         COMES NOW, the Defendant, Aidan Harding, by and through counsels, Christopher M.

Capozzi, Esquire, and Casey P. Mullen, Esquire, and submits this opposition to the Government’s

Request for Detention and states in support thereof as follows:

         I.     INTRODUCTION

         The Defendant is neither a danger to another person or the community nor a flight risk

There is not just “some” evidence but ample evidence to rebut the presumption of detention

imposed because the defendant is accused of “an offense involving a minor victim.” There are

conditions or a combination of conditions that will serve to ensure the Defendant’s appearance if

there are any, and the safety of the community. Accordingly, the Defendant should be immediately

released on conditions.

         II.    APPLICABLE LAW

         The United States Code provides

                [s]ubject to rebuttal by the person, it shall be presumed that no
                condition or combination of conditions will reasonably assure the
                appearance of the person as required and the safety of the
                community if the judicial officer finds that there is probable cause
                to believe that the person committed – (E) an offense involving a
                minor victim.

18 U.S.C. § 3142(e)(3)(E) (emphasis added).
       Case 2:25-mj-00136-CBB          Document 19       Filed 02/12/25       Page 2 of 8




       “A defendant must produce only ‘some evidence’ to rebut the presumption set forth in

section 3142(e). The quantum of evidence required to rebut the presumption is not high [and]

the defendant need only come forward with credible evidence conflicting with the presumption.

When a defendant produces evidence the presumption, however, does not disappear. The burden

of persuasion remains on the government and the rebutted presumption retains evidentiary

weight.” United States v. Gibson, 481 F. Supp. 2d 419, 420 (2007) (citation omitted) (emphasis

added). Once a defendant rebuts the presumption, the Government must demonstrate by clear and

convincing evidence that the defendant is a danger to the community. 18 U.S.C. § 3142(f)(2)

(Release or Detention of Defendant Pending Trial - Detention Hearing); United States v. Giampa,

755 F. Supp. 665, 668 n. 3 (W.D.Pa. 1990) (emphasis added). In fact, to meets its burden of

pretrial detention based on dangerousness the government must produce “clear and convincing

evidence that an arrestee presents an identified articulable threat to an individual or the

community.” United States v. Salerno, 481 U.S. 739, 751 (1987).

       The United States Code further states that

              [t]he judicial officer shall, in determining whether there are
              conditions of release that will reasonably assure the appearance of
              the person as required and the safety of any other person and the
              community, take into account the available information
              concerning—

                      (1)     the nature and circumstances of the offense charged,
                      including whether the offense is a crime of violence, a
                      violation of section 1591, a Federal crime of terrorism, or
                      involves a minor victim or a controlled substance, firearm,
                      explosive, or destructive device;

                      (2)    the weight of the evidence against the person;

                      (3)    the history and characteristics of the person,
                      including—

                                               2
       Case 2:25-mj-00136-CBB           Document 19        Filed 02/12/25      Page 3 of 8




                              (A)    the person’s character, physical and mental
                              condition, family ties, employment, financial
                              resources, length of residence in the community,
                              community ties, past conduct, history relating to drug
                              or alcohol abuse, criminal history, and record
                              concerning appearance at court proceedings; and

                              (B)      whether, at the time of the current offense or
                              arrest, the person was on probation, on parole, or on
                              other release pending trial, sentencing, appeal, or
                              completion of sentence for an offense under Federal,
                              State, or local law; and

                        (4)    the nature and seriousness of the danger to any
                        person or the community that would be posed by the
                        person’s release. . . .

Id. at § 3142(g) (Release or Detention Pending Trial - Factors to be considered).

       III.    ARGUMENT

       A.      The Defendant is not a flight risk.

       The Defendant is not a flight risk for several reasons. First, he has deep roots in the

Pittsburgh area. He has resided here his entire life, his parents and stepparents reside here, he

graduated from Quaker Valley High School, he is employed at his mother’s farm, he works with

therapists at AHN’s Center for Traumatic Stress. Second, he has never failed to appear for a court

hearing – not as a juvenile, and not as an adult, he has never fled from law enforcement or escaped

from custody. Third, he has never traveled internationally, he does not speak a foreign language,

and he does not have a passport. Fourth, he has no history possessing or using fake ID. Finally,

any concern about flight might addressed by imposing a travel restriction or an electronic

monitoring condition.

       B.      The Defendant is not a danger to the community.


                                                3
        Case 2:25-mj-00136-CBB            Document 19        Filed 02/12/25       Page 4 of 8




        The Defendant is not a danger to the community and the Government’s assertion that the

Defendant is a danger to the community, even with the assistance of the presumption, is

insufficient to warrant detention in this case.

                1. The Nature and Circumstances of the Offense Charged.

        He is accused of one count of possessing Child Sexual Abuse Material on his mobile

telephone; he is not accused of dissemination or production, attempting to meet a child, or meeting

a child. He is not accused of unlawful possession of a firearm or possession of an unlawful firearm,

another dangerous weapon or destructive device, or making a threat.

        The Affidavit of Probable Cause in Support of Criminal Complaint is 26 paragraphs long

and chock full of detail. Its length and detail, however, are mostly unrelated to the case filed against

the Defendant. In fact, it is not until paragraphs 23 and 24 of the that the United States develops

the facts supporting the alleged offense – specifically:

               two videos, one which is two seconds and another which is three seconds; and,

               several additional images of Child Sexual Abuse Material, at least one of which

                was animation.

        The balance of the affidavit concerns conduct unrelated to the pending charge and the Court

should decline to accord it any weight in a preventative detention determination because it is

entirely unrelated to the offense alleged in this case. See United States v. Ploof, 851 F.2d 7, 11 (1st

Cir. 1988)(a defendant’s threat to kill his girlfriend’s husband could not be considered unless it

was connected to the pending case – for instance, if he were a witness.)

                2.      The History and Characteristics of the Defendant.




                                                   4
       Case 2:25-mj-00136-CBB           Document 19        Filed 02/12/25      Page 5 of 8




       The history and characteristics of the Defendant are generally addressed above. To the

extent, he has other pending cases they do not relate to children, computers, or violence, and –

importantly – the Allegheny County District Attorney has not asserted that either case warrants a

“no bail” determination: (1) MJ-05225-CR-0000019-2025 – Possession of a Controlled Substance

in violation 35 P.S. § 780-113(a)(16) (specifically, Marijuana) and Possession of Paraphernalia in

violation 35 P.S. § 780-113(a)(32); and (2) CP-02-CR-0000536-2025 – 18 Pa.C.S. § 6111, 18

Pa.C.S. §§ 4904(a)(1) and (b) (specifically, asserting he was not an unlawful user of a controlled

substance.)

       Also, he is not currently on probation or parole, and did not violate his juvenile probation

when he was subject to it. Further, his last contacts with law enforcement before the search warrant

executed at his home on December 11, 2024, and his arrest by an Allegheny County Police Officer

on January 10, 2025, were: 1) a misdemeanor case in Washington County Juvenile Court (OTN J

289416-1) stemming from an August 27, 2019 incident, where he successfully complete a period

of supervision; and, 2) a case filed South Park Township stemming from a September 27, 2024

incident that was resolved as a summary offense.

               3.      The Weight of the Evidence.

       The Defendant addresses the weight of the evidence above and it is insufficient to warrant

detention. To the extent that the government relies on assertions of that the Defendant is adherent

to a violent racist ideology or has visited Internet sites associated with racially or ethnically

motivated extremism, it may be deplorable but it is not criminal. Indeed, what the United States

complains about and the majority of its evidence relate to his associations, his speech, and his




                                                 5
       Case 2:25-mj-00136-CBB           Document 19       Filed 02/12/25      Page 6 of 8




lawful possession of lawful firearms, all of which is protected by the 1st and 2nd Amendments of

the Constitution.

               4.      The Dangerousness of the Defendant.

       The Defendant, for the reasons stated above, does not present such a danger to community

that he should be incarcerated pending trial. Additionally, the United States simply did not allege

an identifiable articulable threat to a person or the community. And, any concerns about

dangerousness may be addressed by the standard conditions of release, along with conditions of

electronic monitoring, limited or no Internet access, appointing a third party custodian, and

continuing treatment at AHN’s Center for Traumatic Stress or other properly licensed mental

health professionals. In fact, Tabitha Latshaw, his Mother, is willing serve as a third party

custodian and allow him to reside at her home in Allegheny County.

       IV.     CONCLUSION

       WHEREFORE, for the foregoing reasons, the Defendant should be released on conditions.




                                                6
       Case 2:25-mj-00136-CBB   Document 19    Filed 02/12/25   Page 7 of 8




Respectfully submitted,

         /s/ Chris Capozzi
____________________________________________
Christopher M. Capozzi (ID # 77162)
100 Ross Street, Suite 340
Pittsburgh, PA 15219
Telephone: 412-471-1648
Facsimile: 412-592-0340
E-Mail: chris@cmcapozzilaw.com

       /s/ Casey P. Mullen
____________________________________________
Casey P. Mullen (ID # 312541)
100 Ross Street, Suite 340
Pittsburgh, PA 15219
Telephone: 412-471-1648
Facsimile: 412-253-9255
E-Mail: casey@caseymullenlaw.com




                                      7
       Case 2:25-mj-00136-CBB           Document 19        Filed 02/12/25      Page 8 of 8




                                CERTIFICATE OF SERVICE

       I, Christopher M. Capozzi, hereby certify that on February 12, 2025, a copy of the

foregoing was filed electronically with the Clerk of Courts for the United States District Court for

the Western District of Pennsylvania.

       /s/ Chris Capozzi
_____________________________________________
Christopher M. Capozzi (ID # 77162)




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